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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA
: CONSENT PRELIMINARY ORDER
-V- OF FORFEITURE/
MONEY JUDGMENT
DAVID CORREIA,
$1 19 Cr, 725 (PO)
Defendant.
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WHEREAS, on or about September 18, 2020, DAVID CORREIA (the
“Defendant”), was charged, among others, in five counts of a seven-count Superseding Indictment,
S119 Cr. 725 (the “Indictment”);

WHEREAS, the Indictment included a forfeiture allegation as to Count Seven,
secking forfeiture to the United States, pursuant to Title 18, Untied States Code, Section
981{a)(1)(C) and Title 28, United States Code, Section 2461(c), of any and all property, real and
personal, that constitutes or is derived from proceeds traceable to the commission of the offense
charged in Count Seven of the Indictment, including but not limited to a sum of money in United
States currency representing the amount of proceeds traceable to the commission of the offense
charged in Count Seven of the Indictment;

WHEREAS, on or about October 29, 2020, the Defendant pled guilty to Counts
Two and Seven of the Indictment, pursuant to a plea agreement with the Government, wherein the
Defendant admitted the forfeiture allegation with respect to Count Seven of the Indictment and
agreed to forfeit to the United States, pursuant to Title 18, United States Code, Section
981 (a)(1)(C) and Title 28, United States Code, Section 2461(c), a sum of money equal to $43,650
in United States currency, representing proceeds traceable to the commission of the offense

charged in Count Seven of the Indictment;

 
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WHEREAS, the Defendant consents to the entry of a money judgment in the
amount of $43,650 in United States currency representing the amount of proceeds traceable to the
offense charged in Count Seven of the Indictment that the Defendant personally obtained; and

WHEREAS, the Defendant admits that, as a result of acts and/or omissions of the
Defendant, the proceeds traceable to the offense charged in Count Seven of the Indictment that the
defendant personally obtained cannot be located upon the exercise of due diligence.

IT IS HEREBY STIPULATED AND AGREED, by and between the United States
of America, by its attorney Audrey Strauss, Acting United States Attorney, Assistant United States
Attorney, Douglas Zolkind, of counsel, and the Defendant, and his counsel, William J. Harrington,
Esq., that:

L. As a result of the offense charged in Count Seven of the Indictment
(conspiracy to commit wire fraud in violation of 18 U.S.C. § 1349), to which the Defendant pled
guilty, a money judgment in the amount of $43,650 in United States currency (the “Money
Judgment”), representing the amount of proceeds traceable to the offense charged in Count Seven
of the Indictment that the Defendant personally obtained, shall be entered against the Defendant.

2, Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this
Consent Preliminary Order of Forfeiture/Money Judgment is final as to the Defendant, DAVID
CORREIA, and shail be deemed part of the sentence of the Defendant, and shall be included in
the judgment of conviction therewith.

3. All payments on the outstanding money judgment shall be made by postal
money order, bank or certified check, made payable, in this instance, to the United States Marshals

Service, and delivered by mail to the United States Attorney’s Office, Southern District of New
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York, Attn: Money Laundering and Transnational Criminal Enterprises Unit, One St. Andrew’s
Plaza, New York, New York 10007 and shall indicate the Defendant’s name and case number.

4, The United States Marshals Service is authorized to deposit the payments
on the Money Judgment in the Assets Forfeiture Fund, and the United States shall have clear title
to such forfeited property.

5. Pursuant to Title 21, United States Code, Section 853(p), the United States
is authorized to seek forfeiture of substitute assets of the Defendant up to the uncollected amount
of the Money Judgment.

6. Pursuant to Rule 32.2(b){3) of the Federal Rules of Criminal Procedure, the
United States Attorney’s Office is authorized to conduct any discovery needed to identify, locate |
or dispose of forfeitable property, including depositions, interrogatories, requests for production
of documents and the issuance of subpoenas.

7. The Court shall retain jurisdiction to enforce this Consent Preliminary Order
of Porfeiture/Money Judgment, and to amend it as necessary, pursuant to Rule 32.2 of the Federal
Rules of Criminal Procedure.

g. The Clerk of the Court shall forward three certified copies of this Consent
Preliminary Order of Forfeiture/Money Judgment to Assistant United States Attorney Alexander
J. Wilson, Co-Chief of the Money Laundering and Transnational Criminal Enterprises Unit, United

States Attorney’s Office, One St. Andrew’s Plaza, New York, New York 10007.

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9, The signature page of this Consent Preliminary Order of Forfeiture/Money

Judgment may be executed in one or more counterparts, each of which will be deemed an original
but all of which together will constitute one and the same instrument.
AGREED AND CONSENTED TO:

AUDREY STRAUSS
Acting United States Attorney for the
Southern District of New York

TLL) 10/29/2020

DOUGLAS ZOLKIND DATE
Assistant United States Attorney
One St. Andrew’s Plaza
. New York, NY 10007
(212) 637-2418

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By:

 

 

 

 

DAVID CORREIA DATE
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By: VV uh : CAA « Ps es . io ” Us 7” 0 Ae)
amine HARRINGTON, ESQ. DATE
Attomey for Defendant
Goodwin, Procter, LLLP
620 Bighth Avenue
New York, NY 10018
SO ORDERED;
a b , Ni Cle — 10/24 [A020
HONORABLE T J. PAUL OETKEN DATE

UNITED STATES DISTRICT JUDGE

 

 
